              Case 23-19159-SLM                   Doc 1     Filed 10/16/23 Entered 10/16/23 20:12:29                             Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                DirectBuy Home Improvement, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Z Gallerie
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  1855 W. 139th Street
                                  Gardena, CA 90249
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                   Location of principal assets, if different from principal
                                  County                                                        place of business
                                                                                                772 N. State Route 17 Paramus, NJ 07652
                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.zgallerie.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
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Debtor    DirectBuy Home Improvement, Inc.                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4422

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check
     the first sub-box. A debtor as
                                        Chapter 11. Check all that apply:
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                When                                Case number
                                                 District                                When                                Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor    DirectBuy Home Improvement, Inc.                                                              Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors                           50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   DirectBuy Home Improvement, Inc.                                           Case number (if known)
         Name

                            $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                            $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                            $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    DirectBuy Home Improvement, Inc.                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 16, 2023
                                                  MM / DD / YYYY


                             X /s/ Robert Fetterman                                                       Robert Fetterman
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CFO and Interim CEO




18. Signature of attorney    X /s/ Michael D. Sirota                                                       Date October 16, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael D. Sirota
                                 Printed name

                                 Cole Schotz P.C.
                                 Firm name

                                 Court Plaza North
                                 25 Main Street
                                 Hackensack, NJ 07601
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     201-489-3000                  Email address      msirota@coleschotz.com

                                 MS-4088 NJ
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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                                                      United States Bankruptcy Court
                                                                  District of New Jersey
 In re    DirectBuy Home Improvement, Inc.                                                                        Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
CSC Generation Holdings, Inc.                                                                                                100%



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the CFO and Interim CEO of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



Date October 16, 2023                                                    Signature /s/ Robert Fetterman
                                                                                        Robert Fetterman

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                          United States Bankruptcy Court
                                                   District of New Jersey
 In re   DirectBuy Home Improvement, Inc.                                              Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for DirectBuy Home Improvement, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
CSC Generation Holdings, Inc.




 None [Check if applicable]




October 16, 2023                                 /s/ Michael D. Sirota
Date                                             Michael D. Sirota
                                                 Signature of Attorney or Litigant
                                                 Counsel for DirectBuy Home Improvement, Inc.
                                                 Cole Schotz P.C.
                                                 Court Plaza North
                                                 25 Main Street
                                                 Hackensack, NJ 07601
                                                 201-489-3000 Fax:201-489-1536
                                                 msirota@coleschotz.com
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Fill in this information to identify the case:
Debtor name DirectBuy Home Improvement, Inc.
United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                          Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
FEDERAL EXPRESS                                                                                                                                             $1,322,569.22
(FEDEX)
P.O. BOX 72210
PASADENA, CA
91109-7321
AT&T                                                                                                                                                        $1,169,885.89
PO BOX 5019
CAROL STREAM, IL
60197-5019
TERRENO 139TH                                                                                                                                                 $718,531.65
LLC
c/o CBRE, INC.2221
ROSECRANS AVE.
STE 10
EL SEGUNDO, CA
90245
4TH STREET                                                                                                                                                    $701,866.62
HOLDINGS LLC.
C/O BOND RETAIL5
THIRD STREET
STE 1225
SAN FRANCISCO,
CA 94103
SHAYNE (MACAO                                                                                                                                                 $532,835.80
COMMERCIAL
OFFSHORE) LIMIT
RUA DE PEQUIN NO
126 EDIF
COMERCIAL I TA
MACAU
DC 02 - SOUTH                                                                                                                                                 $402,887.81
GATE
5150 OVERLAND
AVENUE C/O GK
MANAGEMENT C
CULVER CITY, CA
90230


Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     DirectBuy Home Improvement, Inc.                                                         Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
GOOGLE LLC                                                                                                                                                    $398,922.68
DEPT 33654PO BOX
39000
SAN FRANCISCO,
CA 94139
KUKA (HK) TRAD                                                                                                                                                $317,067.00
CO. LIMITED
ROOM 06 13A/F
SOUTH
TOWERWORLD
FINANCE C
HARBOUR CITY, HK
00099-9077
UNIFIED LOGISTIX                                                                                                                                              $287,644.47
GROUP
740 S. POWERLINE
RD STE F
DEERFIELD BEACH,
FL 33442
CARMICHAEL                                                                                                                                                    $286,454.02
INTERNATIONAL
SERVICE
533 GLENDALE
BLVD
LOS ANGELES, CA
90026
UPS FREIGHT                                                                                                                                                   $284,364.25
P.O. BOX 650116
DALLAS, TX
75265-0116
SOUTH COAST                                                                                                                                                   $235,799.03
PLAZA
P.O. BOX 54876
LOS ANGELES, CA
90074-4876
QUAD/GRAPHICS                                                                                                                                                 $213,990.60
INC
PO BOX 644840
PITTSBURGH, PA
53089
TAMPA                                                                                                                                                         $208,858.14
WESTSHORE
ASSOCIATES LP
C/O COMERICA
BANK - DEPT
177001 P.O. BOX
DETROIT, MI
48267-1770




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Debtor     DirectBuy Home Improvement, Inc.                                                         Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
SOVOS                                                                                                                                                         $208,609.81
COMPLIANCE LLC
PO BOX 347977
PITTSBURGH, PA
15251-4977
CONNOR GROUP                                                                                                                                                  $191,864.66
INTERNATIONAL
LLC
990 S ROCK BLVD,
SUITE F
RENO, NV 89502
JONATHAN LOUIS                                                                                                                                                $185,353.28
INTERNATIONAL
FBO JONATHAN
LOUIS
INTERNATIONALP.
O. BOX
CHARLOTTE, NC
28201-1036
GILTNER                                                                                                                                                       $176,234.82
LOGISTICS
PO BOX 150728
OGDEN, UT
84415-0728
FASHION SHOW                                                                                                                                                  $174,680.09
MALL LLC
SDS-12-2773 P.O.
BOX 86
MINNEAPOLIS, MN
55486-2773
INSPIRO RELIA, INC                                                                                                                                            $155,337.95
6F LV LOCSIN
BUILDING 6752
AYALA AVE
MAKATI, NA 01223




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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Fill in this information to identify the case:

Debtor name         DirectBuy Home Improvement, Inc.

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration       List of Equity Security Holders and Statement of Corporate Ownership

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       October 16, 2023                X /s/ Robert Fetterman
                                                           Signature of individual signing on behalf of debtor

                                                            Robert Fetterman
                                                            Printed name

                                                            CFO and Interim CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                             DirectBuy Home Improvement, Inc.

                              (Chapter 11 Bankruptcy Petition)

                        _________________________________

                    WRITTEN CONSENT OF THE BOARD OF DIRECTORS


        The undersigned, being all of the members of the Board of Directors of DirectBuy Home
Improvement, Inc. (the “Company”), do hereby consent to and adopt the following resolutions as
of the 16th day of October, 2023:

        WHEREAS, in light of the Company’s current financial condition, the Board of
Directors has investigated, discussed and considered all options for addressing the Company’s
financial challenges and, after consultation with the Company’s advisors, has concluded that it is
in the best interests of the Company, its creditors, employees and other interested parties that a
petition be filed by the Company seeking relief under the provisions of chapter 11 of Title 11 of
the United States Code (the “Bankruptcy Code”); now therefore be it

        RESOLVED, that in the judgment of the Board of Directors of the Company, it is
desirable and in the best interests of the Company, its creditors, employees and other interested
parties that a petition be filed by the Company seeking relief under the Bankruptcy Code; and it
is further

        RESOLVED, that Robert Fetterman, in his capacity as Chief Financial Officer of the
Company, is hereby authorized, empowered and directed, in the name and on behalf of the
Company, to execute and verify a petition under chapter 11 of the Bankruptcy Code and to cause
the same to be filed in the United States Bankruptcy Court for the District of New Jersey at such
time as said officer executing the same shall determine; and it is further

      RESOLVED, that the law firm of Cole Schotz P.C. is hereby employed as attorneys for
the Company in the chapter 11 case, subject to Bankruptcy Court approval; and it is further

         RESOLVED, that the financial advisory firm of Sherwood Partners Inc. be, and hereby
is, retained as the financial advisor for Debtor in the chapter 11 case, subject to Bankruptcy
Court approval; and it is further

        RESOLVED, that the investment banking firm of Stump & Company be, and hereby is,
retained as the investment banker/business broker for Debtor in the chapter 11 case, subject to
Bankruptcy Court approval; and it is further

         RESOLVED, that the firm of Stretto, Inc. be, and hereby is, retained as the claims and
noticing agent on behalf of Debtors in the chapter 11 case, subject to Bankruptcy Court approval;
and it is further




66711/0001-46264078v1
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        RESOLVED, that the Company is hereby authorized to employ and engage such other
legal, accounting, financial and restructuring firms as it deems necessary, proper or desirable in
connection with the successful prosecution of the chapter 11 case; and it is further

         RESOLVED, that each officer of the Company, including the Chief Financial Officer, is
hereby authorized, empowered and directed to execute and file all petitions, schedules, motions,
lists, applications, pleadings and other papers and, in that connection, to employ and retain all
assistance by legal counsel, accountants, financial advisors, liquidators and other professionals,
and to take and perform any and all further acts and deeds they deem necessary, proper or
desirable in connection with the successful prosecution of the chapter 11 case; and it is further

        RESOLVED, that each officer of the Company, including the Chief Financial Officer, is
hereby authorized, empowered and directed, in the name and on behalf of the Company, to cause
the Company to enter into, execute, deliver, certify, file and/or record, and perform such
agreements, instruments, motions, affidavits, applications for approvals or ruling of
governmental or regulatory authorities, certificates or other documents, including without
limitation, the amendment of any organizational, constitutional or similar documents of
subsidiaries of the Company for the preservation of such entities and/or the value of the estate,
and to take such action as in the judgment of such officer shall be or become necessary, proper
and desirable to effectuate an orderly liquidation of the Company’s assets; and it is further

        RESOLVED, that the Chief Financial Officer, is hereby delegated the authority,
consistent with such officer’s discharge of his fiduciary duties, with the approval of the Board of
Directors, over implementation and prosecution of the chapter 11 case, including causing the
Company to enter into one or more restructuring transactions, including a sale of substantially all
assets of the Company’s estate, the sale of any real estate, any debtor in possession financing and
any plan of reorganization (each, a “Restructuring Transaction”); and it is further

        RESOLVED, that each officer of the Company, including the Chief Financial Officer,
with the approval of the Board of Directors, is hereby authorized and empowered, in the name of
and on behalf of Debtors to (i) secure the payment and performance of any post-petition
financing by (A) pledging or granting liens and mortgages on, or security interest in, all or any
portion of the assets of any or all Debtors, including all or any portion of the issued and
outstanding capital stock, partnership interests, or membership interests of any Debtor, whether
now owned or hereafter acquired, and (B) entering into or causing to be entered into such
security agreements, pledge agreements, control agreements, intercreditor agreements,
mortgages, deeds of trust and other agreements as are necessary, appropriate or desirable to
effectuate the intent of, or matters reasonably contemplated or implied by, this resolution in such
form, covering such collateral and having such other terms and conditions as are approved or
deemed necessary, appropriate or desirable by the Authorized Officer executing the same, and
(ii) take actions and negotiate or cause to be prepared and negotiated and to execute, deliver,
perform and cause the performance of any agreements, certificates, instruments, receipts,
petitions, motions or other papers or documents in furtherance of any Restructuring Transaction
to which any Debtor is, or will be a party, including, but not limited to, any management
agreements, Chapter 11 plan, disclosure statement, asset purchase agreement, and all exhibits
and/or ancillary documents related thereto (collectively, the “Restructuring Documents”); the



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execution thereof by such Authorized Officer to be deemed conclusive evidence of such
approval or determination; and it is further

         RESOLVED, that each officer of the Company, including the Chief Financial Officer,
with the approval of the Board of Directors, is hereby authorized and empowered in the name of,
and on behalf of, the Company to take any and all actions to (i) obtain Bankruptcy Court
approval of the Restructuring Documents in connection with any Restructuring Transaction, and
(ii) obtain Bankruptcy Court approval of any Restructuring Transaction; and it is further

         RESOLVED, that any and all past actions heretofore taken by the Board of Directors or
each officer of the Company in the name and on behalf of the Company in furtherance of any or
all of the proceeding resolutions be, and the same hereby are, ratified, confirmed and approved;
and it is further

       RESOLVED, that the filing by the Company of a petition seeking relief under the
provisions of the Bankruptcy Code shall not dissolve the Company; and it is further

        RESOLVED, that this Written Consent shall serve in lieu of a special meeting of the
Board of Directors of the Company and the undersigned hereby waives all requirements as to
notice of a meeting; and it is further

        RESOLVED, that this Written Consent may be executed in one or more counterparts,
each of which shall be deemed an original, and all of which, taken together, shall constitute one
and the same consent. Facsimile or electronic signatures or signatures via DocuSign shall be
sufficient for the execution of this Written Consent.



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         IN WITNESS WHEREOF, this Certificate of Written Consent of the Board of
  Directors of DirectBuy Home Improvement, Inc" is executed and delivered as of the date first
  above written.

                                                       BOARD OF DIRECTORS:




                                                            \ 1L
                                                       }'    leffrey E. Devers, Chairman




                                                       Name: Shin Kim




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